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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

                                         )
LORI COWEN, ROCHELLE IBARROLA, )
and AVA ADAMES, individually and on )
behalf of all others similarly situated, )
                                         )         Case No. 1:17-cv-01530
                      Plaintiffs,        )
                                         )         Judge Robert W. Gettleman
     v.                                  )
                                         )         Magistrate Judge Young B. Kim
LENNY & LARRY’S, INC.,                   )
                                         )
                      Defendant.         )



                    MOTION FOR LEAVE TO WITHDRAW APPEARANCE

      Pursuant to Local Rule 83.17, Wexler Wallace LLP (“Wexler Wallace”) hereby moves to

withdraw the appearance of Richard L. Miller on behalf of the Plaintiffs and Putative Classes.

Edward A. Wallace of Wexler Wallace will continue to act as Counsel for Plaintiffs and the

Putative Classes.

Dated: July 30, 2018                       By: /s/ Richard L. Miller

                                               Edward A. Wallace
                                               Richard L. Miller
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                                               Some of Counsel for Plaintiffs and the Putative
                                               Classes




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                                 CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing was filed using this Court’s CM/ECF service,

which will send notification of such filing to all counsel of record on this 30th day of July 2018.




                                                      /s/ Richard L. Miller
                                                      Richard L. Miller




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